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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA


  ALAN RACKEMANN
                                                Case No. 1:17-cv-00624-TWP-MJD
                        Plaintiff,
                                                Judge Tanya Walton Pratt
                v.
                                                Magistrate Mark J. Dinsmore
  LISNR, INC. et al.,

                        Defendants.


   BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO MAINTAIN DOCUMENT
                               UNDER SEAL
                           (FILED UNDER SEAL)



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                                         INTRODUCTION

          This Court should deny the relief sought by Plaintiff Alan Rackemann (“Plaintiff”) in his

  Brief in Support of Defendants’ Motion to Maintain Document Under Seal (Dkt. 247). There,

  Plaintiff asks the Court to seal portions of Dkt. 234-1, the Proposed Sur-Reply in Opposition to

  Plaintiff’s Motion for Leave to Amend Complaint and Scheduling Order (“Proposed Sur-Reply”)

  that Defendants LISNR, Inc. (“LISNR”), the Indianapolis Colts, Inc. (the “Colts”), and Adept

  Mobile LLC (collectively, “Defendants”) filed (and the Court subsequently permitted).1 The

  portions at issue do not, as Plaintiff now claims, reveal confidential material about the “business

  model” of Edelson P.C. (“Edelson”), or reveal confidential details about and communications

  with third parties.

          Instead, the language at issue generally describes form email communications that

  unnamed persons at Edelson sent to Counterclaim-Defendant Jeffrey Evans and to hundreds of

  unnamed third parties. In the communications, Edelson asked the recipients to download a

  commercially available mobile phone application and use that app for its intended purpose.

  There is no basis to claim that suggesting potential class members use a publicly available

  software for its intended purpose is a protectable trade secret. As explained more fully below,

  there simply is no good cause to keep this material under seal.

                                          BACKGROUND

          As more fully described below, the issue in this Motion deals with the parties’ dispute

  over whether references to some of Plaintiff’s counsel’s interaction with potential class members

  should be sealed. Plaintiff’s counsel (“Edelson”) filed this putative class action on behalf of

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   After the Court granted Defendants leave to file their Proposed Sur-Reply on February 12, 2018
  (Dkt. 253 at 1 n.1), Defendants filed their Sur-Reply in Opposition to Plaintiff’s Motion for
  Leave to Amend Complaint and Scheduling Order (“Sur-Reply”) on February 15, 2018 (Dkt.
  260). The Proposed Sur-Reply and as-filed Sur-Reply are identical.

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  Plaintiff in late 2016, claiming that the Colts’ mobile phone application (the “Colts’ App”)

  included defendant LISNR’s technology and thereby eavesdropped on Plaintiff’s private

  conversations. (See generally Dkt. 1.) As was revealed in the fall of last year, however, before

  filing Edelson and Plaintiff failed to undertake a basic pre-filing investigatory step: confirm that

  Plaintiff’s mobile phone actually contained the technology their Complaint targeted. (Dkt. 185

  at 16.) Then, in late 2017, “Plaintiff determined that the version of the App on his phone does

  not include the ‘listening’ technology at issue in the case.” (Dkt. 253 at 1.)

         Plaintiff thereafter moved for leave to substitute via an amendment of the Complaint.

  (See Dkt. 176.) Defendants responded that Plaintiff’s motion should be denied and his lawsuits

  should be dismissed. (Dkt. 185). In a Report and Recommendation issued on February 12,

  2018, Magistrate Judge Mark J. Dinsmore recommended that Plaintiff’s motion be denied and

  that Plaintiff’s claims be dismissed pursuant to Fed. R. Civ. P. 12(h)(3) for lack of subject matter

  jurisdiction. (Dkt. 253.)

         This Motion concerns whether certain portions of Defendants’ Proposed Sur-Reply

  should remain under seal. Plaintiff argues they should. Defendants disagree for the reasons set

  forth below.

         The portions of the Proposed Sur-Reply at issue in this Motion reference and quote

  documents showing that, after determining that Plaintiff never had the relevant version of the

  App, Edelson began to actively seek a new plaintiff. (Dkt. 234-1 at 5.) When contacting

  potential plaintiffs via email, Edelson included simple instructions on how to download and use a

  commercially available mobile device application called “AppDetective” that could determine

  which version of the Colts’ App was installed on the user’s mobile phone. (Dkt. 261-2.)




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         In the briefing over Plaintiff’s request to amend, the parties argued whether Plaintiff

  could have and should have known before filing this case that his mobile phone did not include

  the version of the Colts’ App that is at issue. (See, e.g., Dkt. 185 at 17.) Based in part on the

  newly available evidence which showed that Edelson knew of and used AppDetective,

  Defendants filed the Proposed Sur-Reply on January 22, 2018. (See Dkt. 234-1.) In it, they

  argued that there was no good cause for amendment. In support, they asserted that before

  launching a yearlong case for which Plaintiff never had standing in 2016, Plaintiff and Edelson

  could have (and should have) followed the same easy steps for using this commercially available

  app that they outlined in their emails to prospective plaintiffs in 2017. (See id. at 5.)

         Defendants filed their Proposed Sur-Reply under seal—along with a Motion to Maintain

  Document Under Seal—in part because the email communications referred to in the Proposed

  Sur-Reply had been designated CONFIDENTIAL by Plaintiff under the Protective Order in this

  case. (See Dkt. 235.)2

         On February 5, 2018, Plaintiff filed his Brief in Support of maintaining these

  communications under seal (the “Brief”) (Dkt. 247). There, he requested that the Court maintain

  the seal on the following language in the Proposed Sur-Reply:

         In emails sent to other users responding to its solicitations, Edelson provided
         easy-to-follow instructions concerning how users can learn which version of the
         Colts App appears on their phones. For example, Edelson instructed Mr. Evans to
         “download the ‘AppDetective’ app and locate the [i]nstall date of the Colts app.”
         (Kelly Dec., ¶ X & Ex. B (RACKEMANN_001155).) Edelson also attached a
         “helpful guide” for using the “AppDetective” app. (Id.) The guide instructs users
         on how to use the “AppDetective” app to locate “the ‘Version’ and ‘Installed’
         values” of the Colts App. (Id.) Many did so successfully, including users where
         the process confirmed that they did not have the LISNR technology on their
         phones.

  2
    Defendants also filed under seal because the Proposed Sur-Reply includes material at pages 6
  to 9 that is highly confidential to Defendants. (See Dkt. 236.) This material is not at issue in the
  present Brief in Opposition.

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  (Dkt. 234-1 at 5 (footnotes omitted).) Plaintiff also seeks to keep the following parenthetical

  under seal: “‘our tech experts [reviewed the screen shots you forwarded and] confirmed that you

  did not have the version that was at risk.’” (Id. at n.5.)

                                             ARGUMENT

         The Court should deny the relief requested in Plaintiff’s Brief, because there is no good

  cause for sealing the material on page five of the Proposed Sur-Reply.3 Plaintiff bears the

  burden of demonstrating “good cause.” Elder Care Providers of Ind., Inc. v. Home Instead, Inc.,

  No. 1:14-cv-01894-SEB-MJD, 2015 U.S. Dist. LEXIS 92894, at *5 (S.D. Ind. July 16, 2015)

  (Dinsmore, Mag.) (“[T]he party who desires the secrecy has the burden of continually showing

  ‘good cause’ to maintain such confidentiality when the confidential nature of the information is

  challenged.”).

         To satisfy this burden, Plaintiff must show that the materials he seeks to seal “‘meet the

  definition of trade secret or other categories of bona fide long-term confidentiality,’ such as

  ‘information covered by a recognized privilege’ or ‘information required by statute to be

  maintained in confidence.’” Id. at *4 (quoting Baxter In’t, Inc. v. Abbott Labs., 297 F.3d 544,

  545 (7th Cir. 2002)); accord Cunningham v. SmithKline Beecham, No. 2:07 cv 174, 2008 U.S.

  Dist. LEXIS 49016, at *5 (N.D. Ind. June 25, 2008) (“A party’s entitlement to protection must

  find its roots in the law of trade secrets, privilege, or statutory entitlement.”). Even if the Court

  finds that Plaintiff has shown good cause to seal, the Court should still make the materials public

  if the interests of the public and the other parties in disclosure outweigh any privacy interests.




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   Although the instant Motion speaks to the Proposed Sur-Reply, Defendants’ arguments apply
  with equal force to the as-filed Sur-Reply (Dkt. 260), which is identical.

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  Cunningham, 2008 U.S. Dist. LEXIS 49016, at *15 (quoting Andrew Corp. v. Rossi, 180 F.R.D.

  338, 340 (N.D. Ill. 1998)); Elder, 2015 U.S. Dist. LEXIS 92894, at *5.

         Plaintiff provides two arguments for why there is good cause to seal the material on page

  five of the Proposed Sur-Reply: (1) “[t]he descriptions and quotations reveal aspects of

  [Edelson’s] confidential and proprietary inner-workings—essentially its trade secrets”; and (2)

  the descriptions and quotations “concern private communications with class members.” (Dkt.

  247 at 4.) Neither of these arguments has merit.

  I.     The Material in the Proposed Sur-Reply Does Not Disclose Anything Constituting
         Protectable Trade Secrets or Other Proprietary Information.

         Plaintiff seeks to maintain under seal a paragraph and parenthetical that reveal the

  following:

         •     Edelson sent emails to putative class members, including Mr. Evans;

         •     In the emails, Edelson instructed the prospective class members to download a
               commercially available app—the AppDetective—and told users how to use it for its
               intended purpose; and

         •     Many users successfully followed the instructions from Edelson and determined what
               version of the App was on their phones.

         Nothing about these facts is confidential or proprietary to Edelson. First, there is nothing

  secret about a law firm sending emails to potential clients regarding possible litigation. Instead,

  this is common practice in the legal profession.

         Second, there is nothing secret about the practice of conferring with a potential client

  prior to filing suit, in an attempt to ensure that the client has a viable claim. To the contrary,

  every attorney knows that such an investigation is required by Federal Rule of Civil Procedure

  11(b)(3). (See Dkt. 141 (A pre-suit investigation “is mandated by Rule 11(b)(3) and is—or

  should be—a part of every plaintiff’s pre-filing procedure.”).)


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         Third, there is nothing proprietary to Edelson about using a commercially available

  app—the AppDetective—for its intended purpose, telling clients how to download and use a

  commercially available app for its intended purpose, or having clients successfully follow such

  instructions. Because this information is mundane, revealing it cannot, as Plaintiff now claims,

  hurt Edelson’s ability to compete for business. (See Dkt. 247 at 5; Dkt. 247-2 at ¶ 3.)4

         Finally, even if Edelson could claim to have a confidentiality interest in the process of

  sending emails to prospective clients and instructing them on the use of AppDetective, it waived

  confidentiality by sending the emails at issue here to more than a hundred putative class

  members who were under no obligation to keep the emails private. That is, Edelson voluntarily

  chose to place this information in the public domain and therefore cannot claim that it is a trade

  secret. See Cunningham, 2008 U.S. Dist. LEXIS 49016, at *6 (under Indiana law, information is

  not a trade secret unless it is “the subject of efforts that are reasonable under the circumstances to

  maintain its secrecy” (quoting I.C. § 24-2-3-2)).

         In sum, the information that Plaintiff and Edelson seek to seal does not “meet the

  definition of trade secret or other categories of bona fide long-term confidentiality.” Plaintiff has

  failed to establish good cause for maintaining the information under seal.

  II.    The Material in the Proposed Sur-Reply Does Not Reveal Confidential
         Communications with Class Members.

         Plaintiff also claims that the material on page 5 of the Proposed Sur-Reply reveals

  confidential communications with putative class members. (Dkt. 247 at 4, 6.) Plaintiff states


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    As set forth in Defendants’ last brief on this issue, it does not even appear that Edelson actually
  “competes” for casework. Rather, as demonstrated by the evidence in this case, Edelson
  identifies target defendants or industries, works to develop claims against them and then solicits
  individuals to act as class representatives of the claims they have developed. (See generally Dkt.
  218 (LISNR’s Counterclaims) at ¶¶ 9–81.) Neither Mr. Rackemann (nor Mr. Evans) chose
  Edelson to represent him above another law firm. (See id. at ¶¶ 17, 20, 21, 23, 25, 72, 74.)

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  that each prospective class member initially reached out to Edelson through the Consumer-

  ClassAction.com website, which “assures users that communications initiated through the site

  are and will remain confidential.” (Id. at 3 (emphasis added).)

         There are several reasons why this argument does not justify keeping any of the material

  at issue under seal. First, the Proposed Sur-Reply does not describe any communications that

  third parties sent to Edelson. It includes only communications that Edelson sent; and all through

  emails—not through the Consumer-ClassAction.com website. (See Dkt. 234-1 at 5.)

         Second, the Proposed Sur-Reply does not provide any identifying information about any

  non-party, putative class members. Without such identifying information, no one who reads the

  Proposed Sur-Reply can even determine who the prospective class members are, thus eliminating

  any possibility that the putative class members will have their privacy invaded. See, e.g.,

  Telamon Corp. v. Charter Oak Fire Ins. Co., No. 1:13-cv-00382-RLY-DML, 2015 WL

  13642448, at *3 (S.D. Ind. Oct. 23, 2015) (holding that the party that had filed exhibits

  containing sensitive personal information needed only to redact the identifying information (i.e.

  names) of the individuals referenced in the documents to protect privacy).5 While the Proposed

  Sur-Reply identifies Mr. Evans by name, he had already disclosed himself in Plaintiff’s Motion

  for Leave to Amend (see Dkt. 176) and is now a Counterclaim-Defendant in this case (see

  generally Dkt. 218) and has given permission to Edelson “to publicly disclose aspects of [his]

  communications with the firm” (Dkt. 247-2 at ¶ 10).

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    In a footnote, Plaintiff states that the Court should also maintain under seal any copies of the
  actual emails that underlie the statements in the Proposed Sur-Reply. (Dkt. 247 at 1–2 n.1.)
  After Plaintiff filed his Brief, Defendants filed under seal copies of the emails Plaintiff
  references. (See Dkt. 261-2; Dkt. 261-3.) The Court generally should not maintain these emails
  under seal for the same reasons that it should not maintain any portion of page 5 of the Proposed
  Sur-Reply under seal. Nevertheless, because one of the email strings provides the name and
  contact information for a putative class member, Defendants are amenable to maintaining that
  portion of the email string under seal. (See Dkt. 261-3.)

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          Finally, the Proposed Sur-Reply does not contain any sensitive personal information

  about these individuals. The Proposed Sur-Reply reveals only that these individuals responded

  to solicitations from Edelson, that Edelson sent them form emails regarding how to determine the

  version of the Colts’ App they were using, and that some of these unnamed individuals followed

  the instructions that Edelson provided. (Dkt. 234-1 at 5.)

          In sum, the Court should reject any argument that the Proposed (or as-filed) Sur-Reply

  reveals sensitive or confidential information relating to third-party putative class members.

                                               CONCLUSION

          For these reasons, Defendants request that the Court deny the relief that Plaintiff seeks in

  his Brief.

                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I certify that on February 19, 2018, a copy of the foregoing was filed electronically.
  Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.
  Parties may access this filing through the Court’s system.

                                                _/s/ Jesse Jenike-Godshalk_____________________




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